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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:23-cv-01897-PAB-NRN

   ROBERT LEWANDOWSKI,

        Plaintiff,

   v.

   THE CITY OF LONGMONT, a Colorado municipality; and
   OFFICER STEPHEN DESMOND, in his official and individual capacity,

        Defendants.


                                     AMENDED COMPLAINT


           Plaintiff Robert Lewandowski, by and through his undersigned attorney, for his

   Amended Complaint, hereby states and alleges as follows:

                                             PARTIES

           1.        From at least February 6, 2018 through July 30, 2021, Plaintiff Robert

   Lewandowski (“Mr. Lewandowski” or “Plaintiff”), was subject to criminal investigation and

   legal proceedings in Boulder County, Colorado as a result of falsified evidence and

   multiple felony charges that were brought against him based upon false information.

           2.        On July 30, 2021, Mr. Lewandowski was acquitted of all charges after a

   criminal trial in Boulder County, Colorado.

           3.        Defendant City of Longmont (“Longmont”) is a government municipality

   created under the laws of the State of Colorado and is subject to liability under 42 U.S.C.

   § 1983 and Monell v. Department of Social Services of the City of New York, 436 U.S.

   658 (1978) and its progeny.

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          4.     Defendant Stephen Desmond was at all material times a police officer with

   Longmont and is a person subject to liability under 42 U.S.C. § 1983.

                                  JURISDICTION AND VENUE

          5.     Plaintiff’s various civil rights claims under 42 U.S.C. § 1983 give rise to

   subject matter jurisdiction in this Court pursuant to 28 U.S.C. § 1331 (federal question)

   and 28 U.S.C. § 1343(a)(3) and § 1343(a)(4) (civil rights).

          6.     Venue in this action properly lies in the United States District Court for the

   District of Colorado pursuant to 28 U.S.C. § 1391, as all defendants, upon information

   and belief, reside and/or are located in this federal judicial district, and the events giving

   rise to this action took place in Boulder County, Colorado, within this district.

                  GENERAL ALLEGATIONS – FACTUAL BACKGROUND

          7.     On January 29, 2019, Mr. Lewandowski had an approximately two minute

   long phone with Defendant Desmond, his first ever contact with this Defendant regarding

   criminal allegations against him.

          8.     Days later, on February 4, 2019, Defendant Desmond obtained a warrant

   for the arrest of Mr. Lewandowski. By this point, Defendant Desmond did not have any

   additional communications with Mr. Lewandowski beyond a single two minute phone call.

          9.     The arrest warrant for Mr. Lewandowski contained allegations regarding

   alleged financial crimes purported to have been committed by Mr. Lewandowski against

   his mother, Emily Cebo.

          10.    The arrest warrant prepared by Defendant Desmond contained various

   criminal allegations against Mr. Lewandowski, including, but not limited to, that (i) Mr.

   Lewandowski stole stock from his mother; (ii) that Mr. Lewandowski changed his mother’s

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   will making him sole beneficiary; (iii) that Mr. Lewandowski “made himself” a Power of

   Attorney document; and (iv) that Mr. Lewandowski stole cash and other funds from his

   mother’s bank accounts.

          11.     Months earlier, on April 4, 2018, Mr. Lewandowski’s sister, Irene Kantrowitz,

   had informed Defendant Desmond that Mr. Lewandowski never stole stock from his

   mother, which is reflected in a supplemental police report.

          12.     Yet, ten months later, on February 4, 2019, Defendant Desmond ignored

   this exculpatory statement and pursued this claim against Mr. Lewandowski anyway,

   stating – falsely – in the arrest warrant and affidavit that Mr. Lewandowski stole stock

   from his mother.

          13.     Similarly, on April 4, 2018, Irene Kantrowitz informed Defendant Desmond

   that her mother’s will was not changed to make Plaintiff the sole beneficiary, as it is

   reflected in a supplemental police report that: “Upon further questioning, [Irene] stated

   she does not believe the will has been changed . . .”

          14.     Again, ten months later, Defendant Desmond’s arrest warrant and affidavit

   falsely stated that Mr. Lewandowski changed his mother’s will to make himself the sole

   beneficiary.

          15.     At all material times, Defendant Desmond was aware that Mr. Lewandowski

   had a valid Power of Attorney with his mother to assist her with her finances, including

   paying her bills, yet ignored Mr. Lewandowski’s authority granted by this document and

   instead pursued criminal allegations against him. On or about January 29, 2019, days

   before obtaining the arrest warrant, Defendant Desmond talked with attorney, Peter

   Somma, who Emily Cebo had hired to create her Power of Attorney naming her son,

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   Robert Lewandowski (the Plaintiff) her Power of Attorney.

            16.   At all material times, Defendant Desmond never interviewed Mr.

   Lewandowski (beyond an initial two minute long phone call) prior to bringing criminal

   charges against him.     During this initial phone call, Mr. Lewandowski requested that

   Defendant Desmond come see him and get his side of the story. Rather than engage in

   a typical investigation, Defendant Desmond raised his voice at Mr. Lewandowski and

   threatened that he would just get a warrant for his arrest. Defendant Desmond was not

   professional or courteous towards Mr. Lewandowski, so Mr. Lewandowski ended the call.

            17.   At all material times, Defendant Desmond alleged that Mr. Lewandowski

   illegally transferred funds from his mother’s Wells Fargo account.

            18.   Defendant Desmond failed to investigate transfers to or from the subject

   Wells Fargo account, otherwise he would have known that there were no transfers made

   to Mr. Lewandowski, and that Wells Fargo “Bill Pay” service was being used to pay Mr.

   Lewandowski’s mother’s bills.

            19.   Upon information and belief, Wells Fargo’s “Bill Pay” service is not used to

   transfer funds between bank accounts, rather it is used to issue checks to third parties to

   pay bills, for example. See wellsfargo.com/online-banking/bill-pay (last accessed Nov. 29,

   2023).

            20.   Defendant Desmond also alleged that Plaintiff stole money from a Capital

   One joint account with his mother.

            21.   At all material times, Mr. Lewandowski did not have a Capital One joint

   account with his mother; he had his own individual Capital One account which did not

   contain any of his mother’s funds. Indeed, the supplemental police reports authored prior

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   to the arrest warrant affidavit, do not show any joint Capital One accounts, only that Emily

   Cebo and Mr. Lewandowski had separate Capital One accounts.

          22.    However, in Defendant Desmond’s arrest warrant affidavit, he falsely refers

   multiple times to joint Capital One accounts between Emily Cebo and Mr. Lewandowski,

   ignoring the actual Capital One statements that were provided to him under a court-

   ordered record request.

          23.    Upon information and belief, Capital One never alerted Emily Cebo, Irene

   Kantrowitz, Mr. Lewandowski, or any other members of his family, about any type of

   alleged ‘fraud’ or other malfeasance, because it never occurred. Rather, Irene Kantrowitz

   had gone to Capital One on February 6, 2018 and claimed fraud, stating Mr.

   Lewandowski’s Power of Attorney was not valid. As a result, Capital One froze all of

   Emily Cebo’s and Mr.Lewandowski’s Capital One accounts. After Capital One’s

   investigation, however, the bank determined there was no fraud and unfroze the

   accounts. Irene Kantrowitz shared these made-up stories with Defendant Desmond who

   ran with them, regardless of the wholesale absence of supporting facts.

          24.    At all material times, Defendant Desmond failed to investigate the

   allegations made against Mr. Lewandowski.

          25.    At all material times, Defendant Desmond failed to formally interview Mr.

   Lewandowski regarding the allegations against him, beyond an initial two-minute phone

   call on January 29, 2019.

          26.    At all material times, Defendant Desmond never obtained corroborating

   evidence to support the allegations against Mr. Lewandowski. Defendant Desmond never

   interviewed Mr. Lewandowski about the details of the allegations against him.

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          27.    At all material times, Defendant Desmond used the legal process to subject

   Mr. Lewandowski to criminal prosecution and, eventually, a criminal trial.

          28.    At all material times, Defendant Desmond failed to consider exculpatory

   evidence in his possession, such as statements made in 2018 and 2019 when pursuing

   their allegations against Mr. Lewandowski.

          29.    At all material times, Defendant Desmond affirmatively included multiple

   false statements in his arrest affidavit, as detailed above, and which he knew or should

   have known were false based on the information contained within his own supplemental

   police reports.

          30.    At all material times, Defendants’ criminal allegations and criminal charges

   against Mr. Lewandowski were not based on any objective means of determining Mr.

   Lewandowski’s criminal liability, if any.

          31.    After the arrest warrant was issued against Mr. Lewandowski, he was

   charged with multiple felony crimes, and a criminal case was opened under Case No.

   2019CR0210.

          32.    A criminal trial against Mr. Lewandowski began on July 26, 2021, in Boulder

   County District Court.

          33.    From July 26, 2021, through July 30, 2021, Mr. Lewandowski defended the

   criminal charges against him at trial in Boulder County, Colorado.

          34.    On July 30, 2021, Mr. Lewandowski was acquitted of all charges.

          35.    On August 25, 2021, Mr. Lewandowski contacted the Longmont Police

   Department to file a criminal complaint against his sister, Irene Kantrowitz, for making

   false statements to law enforcement.

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          36.    As part of these communications, post-acquittal, Mr. Lewandowski spoke

   with Officer Alan Baldivia of the Longmont Police Department.

          37.    On August 26, 2021, Officer Baldivia called Mr. Lewandowski and informed

   him that his complaint would not be investigated because the Longmont Police

   Department deemed it a civil matter.

          38.    In fact, making false reports to law enforcement is a criminal offense under

   C.R.S. § 18-8-111.

          39.    Despite Ms. Kantrowitz’s criminal activity by making false statements to law

   enforcement, and her testimony at Mr. Lewandowski’s trial, Officer Baldivia chose not to

   do anything with Mr. Lewandowski’s allegations against Ms. Kantrowitz.

          40.    After Officer Baldivia failed to investigate these crimes, Mr. Lewandowski

   opened a complaint with the Longmont Professional Standards Unit (“PSU”).

          41.    In response to Mr. Lewandowski's complaint to the PSU, Defendant

   Longmont simply ignored it, and, upon information and belief, (i) failed to investigate any

   allegations in that complaint, (ii) failed to speak to any relevant witnesses, and (iii) failed

   to collect any evidence that may have supported Mr. Lewandowski’s allegations. In sum,

   Longmont allowed Officer Baldivia to simply ignore past criminal behavior and continue

   its history, pattern and practice of failing to investigate criminal allegations.

          42.    Since the investigation against Mr. Lewandowski began in or around

   February 2018, followed by a criminal trial against him and his subsequent acquittal in

   July 2021, he has suffered losses and damages, including, but not limited to, legal fees

   and attorneys’ fees, legal expenses, legal costs, court costs and fees, unnecessary travel

   to and from Colorado, interruptions to his daily life, damage to his reputation, emotional

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   distress, and other losses and damages to be determined by a jury and the Court.

                                     FIRST CLAIM FOR RELIEF

   42 U.S.C. § 1983 AGAINST DEFENDANT DESMOND (MALICIOUS PROSECUTION)

              43.   Plaintiff incorporates by reference paragraphs 1 through 42 of this Amended

   Complaint.

              44.   The Fourteenth Amendment of the U.S. Constitution provides that state

   actors may not “deprive any person of life, liberty or property, without due process of law

   . . . .”

              45.   Section 1983 of the Civil Rights Act of 1871 (42 U.S.C. § 1983) imposes

   liability on persons who, under color of law, deprive individuals of the rights secured by

   the Constitution:

                    Every person who, under color of any statute, ordinance,
                    regulation, custom, or usage of any State or Territory or the
                    District of Columbia, subjects, or causes to be subjected, any
                    citizen of the United States or other person within the
                    jurisdiction thereof to the deprivation of any rights, privileges,
                    or immunities secured by the Constitution and laws, shall be
                    liable to the party injured in an action at law, suit in equity, or
                    other proceeding for redress . . . .

              46.   This claim arises under 42 U.S.C. § 1983 against Defendant Desmond for

   the falsification of charges and evidence against Mr. Lewandowski.

              47.   The actions of Defendant Desmond before, during and after his flawed

   criminal investigation, as detailed above in this Amended Complaint, and including (i)

   failing to investigate the allegations against Mr. Lewandowski, (ii) failing to properly review

   bank statements alleged to contain illegal transfers, (iii) failing to interview Mr.

   Lewandowski beyond a negligible two minute phone call, (iv) failing to corroborate

   testimony against Mr. Lewandowski, (v) intentionally and knowingly including false
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   statements in his arrest warrant affidavit, and (vi) maliciously charging Mr. Lewandowski

   with multiple felony crimes based, at least in part, on evidence that Defendant Desmond

   knew was false, constituted state action under the color of law that violated Mr.

   Lewandowski’s constitutional rights.

          48.    The actions of Defendant Desmond constituted a seizure under the Fourth

   Amendment, and a denial of Mr. Lewandowski’s right to due process under the

   Fourteenth Amendment.

          49.    As a direct result of the aforementioned constitutional violations, Mr.

   Lewandowski suffered serious injuries and damages.

          50.    For the foregoing deprivations of Mr. Lewandowski’s constitutional rights,

   Defendants are liable for compensatory and punitive damages as well as reasonable

   attorneys’ fees and costs under 42 U.S.C. § 1988 in an amount to be proven at trial.

          WHEREFORE, on the First Claim for Relief, Plaintiff demands judgment against

   Defendants jointly and severally as follows: (1) compensatory damages sufficient to fully

   and fairly compensate Plaintiff for his injuries and damages, in an amount to be

   determined at trial; (2) an award of exemplary damages in an amount to be determined

   at trial; (3) reasonable attorneys’ fees and costs under 42 U.S.C. § 1988; (4) interest from

   the date of injury or to the maximum extent allowed by law; (5) costs, including expert

   witness fees and deposition expenses; and (6) such other and further relief as the Court

   deems just.

                                SECOND CLAIM FOR RELIEF

                42 U.S.C. § 1983 AGAINST DEFENDANT CITY OF LONGMONT

           (FAILURE TO TRAIN AND SUPERVISE and VICARIOUS LIABILITY)

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         51.    Plaintiff incorporates by reference paragraphs 1 through 50 of this Amended

  Complaint.

         52.    This claim, and the allegations that follow, is brought against Defendant City

  of Longmont (“Longmont”) in its official capacity as a state actor.

         53.    Longmont is subject to respondeat superior or vicarious liability under 42

  U.S.C. § 1983, and Monell v. Department of Social Services of the City of New York, 436

  U.S. 658 (1978) and its progeny.

         54.    At all material times, Longmont, through its leadership and executive

  management, was the final policymaker for the City of Longmont Police Department and

  was responsible for the practices of the Longmont Police Department and the training

  and supervision of its police officers. There may have been other policymakers who were

  responsible for policies, practices, training, and supervision within the City of Longmont

  and/or Longmont Police Department. Longmont also may have established, or failed to

  establish, policies and customs through other policymakers.

         55.    Municipal liability can attach under Monell for even a single decision made

  by a final policymaker in certain circumstances, regardless of whether or not the action is

  taken once or repeatedly. See Pembaur v. City of Cincinnati, 475 U.S. 469, 481 (1986).

         56.    Longmont is liable for inadequate policies, customs, training, and

  supervision which resulted in the violations of the constitutional rights of Mr.

  Lewandowski.

         57.    At all material times, Longmont acted as a state actor and under color of the

  laws of the State of Colorado.

         58.    As described throughout this Amended Complaint, the actions of Defendant

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  Desmond against Mr. Lewandowski exceeded constitutional limitations and violated Mr.

  Lewandowski’s clearly established rights under the Fourth Amendment to the U.S.

  Constitution.

         59.      The actions of Defendant Desmond in falsifying evidence, accusations, and

  charges against Mr. Lewandowski, and failing to properly investigate the allegations

  against Mr. Lewandowski, violated Mr. Lewandowski’s rights under the Fourth and

  Fourteenth Amendments to the U.S. Constitution.

         60.      Longmont directed or had actual knowledge of and acquiesced in the

  violations of Mr. Lewandowski’s constitutional rights.

         61.      Longmont’s training and supervision of Defendant Desmond, through its

  police department, regarding proper investigations of criminal allegations, the duty not to

  use false evidence and false allegations, and the duty not to withhold exculpatory

  evidence, was grossly inadequate.

         62.      The defendant police offers’ actions and inactions were the result of the

  training and supervision, or lack thereof, provided by Longmont.

         63.      Longmont had actual or constructive notice that its failures to properly train

  and supervise its police officers were substantially certain to result in a violation of clearly

  established constitutional rights based on similar incidents and a pattern of police

  conduct. For example, Officer Baldivia, like Defendant Desmond, similarly failed to

  investigate Mr. Lewandowski’s complaint against his sister, Ms. Kantrowitz, after the

  conclusion of his trial.

         64.      Longmont had actual or constructive notice that the failures to properly train

  and supervise deputies were substantially certain to result in a violation of clearly

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  established constitutional rights because such a constitutional violation was a plainly

  obvious consequence of the failures to properly train and supervise police officers in the

  skills necessary to handle recurring situations similar to the investigation, arrest and

  prosecution of Mr. Lewandowski.

         65.    The need for more or different training or supervision was so obvious, and

  so likely to result in a violation of constitutional rights, that Longmont can reasonably be

  said to have been deliberately indifferent to the need and to the clearly established

  constitutional rights of persons with whom Defendant Desmond came into contact.

         66.    Longmont’s inadequate policies and customs, and failures to properly train

  and supervise its police officers, were a direct and proximate cause of the police offers’

  violations of Mr. Lewandowski’s clearly established constitutional rights.

         67.    As a direct result of Longmont’s inadequate policies and customs, and

  failures to properly train and supervise its police officers, and the resulting violations of

  his constitutional rights, Mr. Lewandowski suffered serious injuries and damages.

         68.     For the foregoing deprivations of Mr. Lewandowski’s constitutional rights,

  Longmont is jointly liable with the police officers for compensatory and punitive damages

  as well as reasonable attorneys’ fees and costs under 42 U.S.C. § 1988 in an amount to

  be proven at trial.

         WHEREFORE, on the Second Claim for Relief, Plaintiff demands judgment

  against Defendant City of Longmont as follows: (1) compensatory damages sufficient to

  fully and fairly compensate Plaintiff for his injuries and damages, in an amount to be

  determined at trial; (2) an award of exemplary damages in an amount to be determined

  at trial; (3) reasonable attorneys’ fees and costs under 42 U.S.C. § 1988; (4) interest from

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  the date of injury or to the maximum extent allowed by law; (5) costs, including expert

  witness fees and deposition expenses; and (6) such other and further relief as the Court

  deems just.

                                  JURY TRIAL DEMAND

        Plaintiff hereby demands a trial by jury with respect to each of his claims alleged

  herein.

            DATED this 30th day of November, 2023.

                                                     s/ Jesse D. Rodgers
                                                     Jesse D. Rodgers
                                                     CommonSpirit Health
                                                     198 Inverness Drive West, 4th Fl.
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                                                     s/ Robert Lewandowski
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                                                     Plaintiff pro se

  Plaintiff’s Name and Address:
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  5304 Pony Chase
  Austin, Texas 78727




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                               CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of November, 2023, I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system which will send notification
  of such filing to all known counsel of record.



                                                      s/ Jesse D. Rodgers




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